       Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 1 of 103 PageID #:10302




                                UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                               )         No. 1:19-CR-00669
                                               )
      v.                                       )
                                               )         Judge Edmond E. Chang
GREGG SMITH,                                   )
MICHAEL NOWAK, and                             )
JEFFREY RUFFO.                                 )
                                               )
             Defendants.                       )

                                              ORDER

        The Court held pretrial-conference sessions on June 2, 2022, June 10, 2022, and June 16,
2022. This Order summarizes the decisions on the government exhibits objected to by the defense.
Where necessary, the Court provides a more detailed analysis of its decisions on particular exhib-
its. A separate order will summarize the decisions on the objections to the defense exhibits.

                                  I. Government Exhibit List

       Exhibit No. 5 / Ruffo Motion in Limine C (R. 297 / DX 129). This is the plea agreement
between the government and John Edmonds (Exhibit 6 is the cooperation agreement, which in the
District of Connecticut is by practice a separate document). Defendants Smith and Nowak objected
to the plea agreement’s admissibility because it contains a hearsay summary of the offense and
relevant conduct. That is correct, and indeed the exhibit contains plentiful other irrelevant and
confusing sections (the waiver of rights, the certain Guidelines calculation, and so on). Having said
that, the government may elicit testimony about the non-hearsay parts of the agreement (for ex-
ample, to draw the sting and to explain the basis of the cooperation agreement). The other im-
portant exception is that Defendant Ruffo may cross-examine Edmonds on the single line that
Ruffo sought to introduce, specifically, that in describing the crime, Edmonds stated that, “[f]rom
no later than 2009 until no earlier than 2015, the defendant conspired with other precious metals
traders at the Bank to engage in wire fraud, commodities fraud, commodities price manipulation,
and spoofing,” GX 5 (emphasis added), and the description did not include salespersons. Ruffo may
do so cross by eliciting testimony from Edmonds—there should be no need to introduce the plea
agreement itself. If Edmonds disclaims knowledge, then Ruffo may refresh his memory. The Court


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         Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 2 of 103 PageID #:10303

will instruct the jury that it may consider the evidence only for the alleged omission and not for
any other purpose.

        With that in place, Defense Exhibit 129 (the similar statement of the government attorney
during the plea colloquy of Edmonds) is excluded. Even if there were a sound reason to carve out
government attorneys from the long-standing precedent in the Seventh Circuit that government
agents generally are not parties for purposes of party-admissions under Evidence Rule
801(d)(2)(D), see United States v. Arroyo, 406 F.3d 881, 888 (7th Cir. 2005), Rule 403 would defin-
itively bar the plea-colloquy statement here. The witness with the actual personal knowledge is
Edmonds himself, not the government attorney. Introducing the plea-colloquy statement would in
effect turn the government attorney into a witness, and the ensuing confusion and unfair prejudice
would greatly outweigh any probative value of the attorney’s statement. Worse, arguably the gov-
ernment should be allowed to rebut the statement (were it to be introduced) with an explanation
of conspiracy law and Edmonds’ interactions with Ruffo. So Ruffo’s Motion in Limine C is denied.

       Exhibits No. 7 and 8. The government seeks to offer parts of John Edmonds’ recorded
interview (and the corresponding transcript) with an FBI agent in August 2018. First Pretrial
Conf. Hrg. Tr. 13:9–11. The government plans on introducing the evidence so that Edmonds can
explain the initial denials of spoofing and the later admissions. Id. at 13:10–19. During the pretrial
conference, the Court instructed the government to finalize the draft transcript into the version of
the transcript that will be used as a demonstrative and highlight the particular statements for the
defense that the government will use to draw the sting. Id. at 15: 2–6. The government is permitted
to draw the sting whether by eliciting the testimony verbally or playing the recording.

       Exhibit No. 20. This is an email to Defendant Nowak and also to Trunz, with an attached
slide deck for a then-upcoming training. First Pretrial Conf. Hrg. Tr. 25:1–3. The government may
introduce the slide deck, including the market-abuse regulation, even though the European regu-
lation is (of course) not directly at issue. Trunz is expected to testify that this slide deck was about
spoofing and layering just as it is regulated here in the United States, so the slide is relevant as
to Nowak’s knowledge of the similar U.S. ban on spoofing. Id. at 28:16–19. The slide deck is ad-
missible with redactions of the STORs and a limiting instruction to the jury that the particular
regulation is not itself alleged to be violated in this case. Id. at 28:10–13; 28:22–25.

       Exhibit No. 31. This is an excerpted chat that was later used in a compliance training that
addressed what not to say in e-communications. First Pretrial Conf. Hrg. Tr. 36:14–16. Armand
Nakkab, the compliance officer who led the training, is expected to testify1 about the exact line
from this chat to show what was said—and what was not said—in chats after this training took
place and the reason for that shift in communications. There thus is no hearsay problem (the chat
is not offered for its truth), and it is relevant to explain why conversants took greater care in




        1The government noted that Agent Troiano, the FBI case agent, may testify about this exhibit instead of Nak-

kab. First Pretrial Conf. Hrg. Tr. 38:21-24.
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        Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 3 of 103 PageID #:10304

subsequent chats. Although Defendant Jordan is no longer part of this trial, the government still
must prove up a conspiracy in which Jordan was a member. Id. at 38:6–8.

       Exhibit No. 43. The defense objected to this exhibit, arguing that the reference to spoofing
the “locals” refers to voice spoofing. The government previously advised the defense they would
not make allegations related to voice spoofing. First Pretrial Conf. Hrg. Tr. 44:19–20. At the pre-
trial conference, the Court decided that absent any showing that this refers to something other
than voice spoofing, the exhibit is excluded. Id. at 48:1–5.

       Exhibit Nos. 91 and 98–101; Nos. 272, 300–356 (Motion in Limine on Compensation,
R. 312). These exhibits are offered to show Defendant Ruffo’s communications with a client. They
are allowed to show that Ruffo knew what was happening in the market, as well as to show that
Ruffo had certain crucial clients that added to the desk’s profitability. Relatedly, the government’s
motion to introduce the compensation-related exhibits (Exhibits 272, 300–356) is allowed. R. 312,
Mot. Limine on Compensation. The Defendants’ compensation (as well as the compensation of the
coconspirators) is powerful evidence of motive for the alleged crimes. The related evidence on bo-
nuses is allowed because there is a sufficient connection (even if not an exact percentage relation-
ship) between the profitability of the trades and the bonuses, which in turn is (again) powerful
evidence of motive. Rule 403 concerns do not justify exclusion given the strength of the probative
value of compensation-as-motive evidence. And the jury will not likely be taken aback by the gen-
eral idea that the Defendants’ compensation was substantial given their roles and responsibilities
at one of the nation’s largest financial institutions.

       Exhibit Nos. 131–43, 146–56, 158–72 (Motion in Limine on Compliance versus Crim-
inal Law, R. 289; Motion to Exclude Compliance Exhibits, R. 543). These are JPMorgan
compliance-related materials, describing prohibited (and permitted) practices of the bank. The
government anticipates these materials will be introduced through compliance officer Armand
Nakkab. The defense argued in a motion in limine for a limiting instruction explaining that com-
pliance policies are different than federal criminal law, R. 289, and the defense also filed a broader
motion seeking to exclude the exhibits, R. 543. From the defense’s perspective, some compliance
exhibits outright misstate the law, including on the mental-state requirement for fraud. Hrg. Tr.
108:1–4. It is of course true that compliance policies are not necessarily equivalent to criminal-law
requirements. But a limiting instruction can adequately explain that difference to the jury to min-
imize the risk of misunderstanding. With that risk minimized, the exhibits are allowed because
the Defendant’s alleged knowledge of compliance policies, alleged violation of them, alleged false
denials of violations, and alleged cover-up of the violations (and how all of those facts thus show
intent) are powerfully relevant facts for the jury to consider in deciding whether the Defendant’s
had the requisite mental state for the charged crimes.

       On review of the competing limiting instructions, the Court will instruct the jury as follows
when the first compliance-policy evidence is introduced, and will from time to time remind the jury
(and this is important enough to go into the final instructions as well, in the past tense at that
point):
                                                 -3-
        Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 4 of 103 PageID #:10305

      You are about to hear evidence of compliance policies issued by JPMorgan Chase. Evidence
      that a defendant violated bank-compliance policies are not, standing alone, sufficient to con-
      vict a Defendant. A bank’s compliance policies are not necessarily the same as federal law,
      so even if you were to find that a Defendant violated a compliance policy, that does not
      necessarily mean that there was a violation of the law. I will explain federal law to you at
      the end of the trial. You must apply the law that I give you and the government must prove
      violations of federal law beyond a reasonable doubt.

       This instruction appropriately balances the legal principle (compliance is not the same as
criminal law) without incorrectly cabining the evidence’s relevancy or giving the Court’s imprima-
tur to one side or the other. The Court considered listing the specific relevancy topics (that is,
alleged knowledge of compliance policies, alleged violation of them, alleged false denials of viola-
tions, alleged cover-up of the violations, and how those facts in turn show intent) but it ended up
sounding more prejudicial to the Defendants than helpful. Instead, the Court will leave it to the
parties to argue those relevancy points to the jury rather than the Court listing them out.

       Exhibit No. 177. The government seeks to offer notes taken by Suzanne Bywater either at
or after a meeting in which Nowak participated. First Pretrial Conf. Hrg. Tr. 120:1–8. The govern-
ment offers this as a business record and did obtain a 902(11) certificate from the firm and Ms.
Bywater. During the first pretrial session, the Court inquired on the circumstances surrounding
these notes and how frequently Bywater would take these kinds of notes. Id. at 121:16–19. During
the third session, the government reported that, based on a second interview of Bywater, she ex-
plained that she typically took these notes around five times per month during the course of her
JPMorgan human-resources tenure, and and that this was one of her primary responsibilities.
R. 556, Third Pretrial Conf. Hrg. Tr. 673:4–10. The defense asserts that the notes were not those
taken at the actual meeting, but rather prepared were from Bywater’s handwritten notes during
the meeting. Id. at 673:22–24. If the Court accepts the 902(11) certification, then the defense seeks
to call Bywater as a defense witness so that they can examine her on what she meant by “non-
verbatim.” The government had amended their witness list on May 16, 2022, and had added By-
water, so it was reasonable for the Defendants to think that Bywater would in fact be called as a
witness. But by the end of May, it became clear that Bywater would not in fact be present for trial.
Rule 902(11) requires sufficient advance notice. Here, the 902(11) certification came too late. Un-
less Bywater agreed to a deposition under Rule 15, the defense did not have notice to challenge or
rebut this exhibit. In order to lay the business-records foundation for this exhibit, Bywater must
either testify at trial or testify by deposition. Given that she is no longer on the witness lists, the
exhibit is excluded.

       Exhibits 378, 379, 380 / Defense Motion in Limine against Moore Capital Settle-
ments (R. 298). The government offers three exhibits (Exhibit 377 has been withdrawn) concern-
ing enforcement cases brought against Moore Capital and Christopher Pia for allegedly engaging
in banging the close in the platinum and palladium futures market. The cases resulted in news
articles and a CFTC press release reflected in the exhibits. In 2010, Ruffo forwarded an article to
Smith about the cases, GX 378; and in July 2011, compliance officer Nakkab forwarded by email
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       Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 5 of 103 PageID #:10306

(GX 379) a pertinent CFTC press release (GX 380) to the precious metals desk (including the De-
fendants). The defense argues that the enforcement cases are irrelevant, and even if irrelevant,
fails Rule 403.

       The Court agrees on the latter point: even if the banging-the-close practice has some rele-
vancy to show that the Defendants knew that not every open-market order is immune from CFTC
scrutiny, that is not enough to overcome the Rule 403 concerns of unfair prejudice, confusion, and
waste of time. It will take substantial time to explain to the jury what “banging the close” means,
why and how it amounts to manipulation of prices, and what it means for the charges in this case.
Indeed, the jury will have no legal instructions on banging the close as a form of manipulation,
and having that legal understanding is important in assessing the probative value of these par-
ticular exhibits. The exhibits are excluded.

       Exhibit No. 409. The government seeks to offer a CME advisory notice about a compliance
rule to show knowledge and intent (the sponsoring witness is Robert Sniegowski). The defense
raises concerns with the timing of when this compliance policy went into effect, namely, September
15, 2014, which is roughly two years before the alleged conspiracy ended. First Pretrial Conf. Hrg.
Tr. 178:14–18. The defense also argues that the exhibit will confuse the jury because a compliance
policy is not the same as the law. Given that the advisory notice was issued before the alleged
conspiracy’s end, and given the limiting instruction on compliance policies (as discussed earlier)
and the defense’s ability to cross Sniegowski, the exhibit is allowed.

                                         Exhibit Chart

      The exhibit chart begins on the next page.




                                                -5-
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 6 of 103 PageID #:10307
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 7 of 103 PageID #:10308
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 8 of 103 PageID #:10309
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 9 of 103 PageID #:10310
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 10 of 103 PageID #:10311
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 11 of 103 PageID #:10312
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 12 of 103 PageID #:10313
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 13 of 103 PageID #:10314
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 14 of 103 PageID #:10315
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 15 of 103 PageID #:10316
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 16 of 103 PageID #:10317
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 17 of 103 PageID #:10318
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 18 of 103 PageID #:10319
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 19 of 103 PageID #:10320
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 20 of 103 PageID #:10321
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 21 of 103 PageID #:10322
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 22 of 103 PageID #:10323
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 23 of 103 PageID #:10324
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 24 of 103 PageID #:10325
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 25 of 103 PageID #:10326
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 26 of 103 PageID #:10327
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 27 of 103 PageID #:10328
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 28 of 103 PageID #:10329
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 29 of 103 PageID #:10330
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 30 of 103 PageID #:10331
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 31 of 103 PageID #:10332
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 32 of 103 PageID #:10333
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 33 of 103 PageID #:10334
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 34 of 103 PageID #:10335
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 35 of 103 PageID #:10336
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 36 of 103 PageID #:10337
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 37 of 103 PageID #:10338
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 38 of 103 PageID #:10339
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 39 of 103 PageID #:10340
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 40 of 103 PageID #:10341
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 41 of 103 PageID #:10342
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 42 of 103 PageID #:10343
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 43 of 103 PageID #:10344
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 44 of 103 PageID #:10345
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 45 of 103 PageID #:10346
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 46 of 103 PageID #:10347
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 47 of 103 PageID #:10348
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 48 of 103 PageID #:10349
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 49 of 103 PageID #:10350
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 50 of 103 PageID #:10351
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 51 of 103 PageID #:10352
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 52 of 103 PageID #:10353
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 53 of 103 PageID #:10354
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 54 of 103 PageID #:10355
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 55 of 103 PageID #:10356
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 56 of 103 PageID #:10357
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 57 of 103 PageID #:10358
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 58 of 103 PageID #:10359
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 59 of 103 PageID #:10360
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 60 of 103 PageID #:10361
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 61 of 103 PageID #:10362
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 62 of 103 PageID #:10363
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 63 of 103 PageID #:10364
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 64 of 103 PageID #:10365
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 65 of 103 PageID #:10366
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 66 of 103 PageID #:10367
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 67 of 103 PageID #:10368
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 68 of 103 PageID #:10369
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 69 of 103 PageID #:10370
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 70 of 103 PageID #:10371
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 71 of 103 PageID #:10372
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 72 of 103 PageID #:10373
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 73 of 103 PageID #:10374
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 74 of 103 PageID #:10375
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 75 of 103 PageID #:10376
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 76 of 103 PageID #:10377
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 77 of 103 PageID #:10378
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 78 of 103 PageID #:10379
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 79 of 103 PageID #:10380
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 80 of 103 PageID #:10381
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 81 of 103 PageID #:10382
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 82 of 103 PageID #:10383
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 83 of 103 PageID #:10384
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 84 of 103 PageID #:10385
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 85 of 103 PageID #:10386
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 86 of 103 PageID #:10387
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 87 of 103 PageID #:10388
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 88 of 103 PageID #:10389
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 89 of 103 PageID #:10390
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 90 of 103 PageID #:10391
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 91 of 103 PageID #:10392
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 92 of 103 PageID #:10393
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 93 of 103 PageID #:10394
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 94 of 103 PageID #:10395
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 95 of 103 PageID #:10396
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 96 of 103 PageID #:10397
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 97 of 103 PageID #:10398
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 98 of 103 PageID #:10399
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 99 of 103 PageID #:10400
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 100 of 103 PageID #:10401
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 101 of 103 PageID #:10402
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 102 of 103 PageID #:10403
Case: 1:19-cr-00669 Document #: 607 Filed: 07/10/22 Page 103 of 103 PageID #:10404
